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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                            CASE NO.: 2:23-cr-61-SPC-KCD

CHESTER LEWIS RISCO, III


                    FINAL ORDER OF FORFEITURE

      Before the Court is the United States’ Motion for Final Order of

Forfeiture. (Doc. 43). The Government seeks to have forfeited a Taurus G2C,

9mm Pistol (SN: ACK367459) and assorted 9mm ammunition, which

were subject to a September 25, 2023 preliminary order of forfeiture. (Doc. 41).

Although the Government gave proper notice, no third parties have petitioned

for the Taurus G2C, 9mm Pistol (SN: ACK367459) and assorted 9mm

ammunition, and the time to do so has expired. The Court thus finds all

right, title, and interest in the Taurus G2C, 9mm Pistol (SN: ACK367459)

and assorted 9mm ammunition shall be forfeited to the Government.

      Accordingly, it is now

      ORDERED:

      The United States’ Motion for Final Order of Forfeiture (Doc. 43) is

GRANTED.

      1. Defendant’s interest in the Taurus G2C, 9mm Pistol (SN:

         ACK367459) and assorted 9mm ammunition is CONDEMNED
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        and FORFEITED to the United States for disposition according to

        law and subject to 21 U.S.C. § 853(n)(7), and Federal Rule of Criminal

        Procedure 32.2(c)(2).

     2. Clear title to the Assets is now VESTED in the United States.

     DONE AND ORDERED in Fort Myers, Florida on December 22, 2023.




Copies:
Counsel of Record




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